  Case 2:17-cv-00485-JES-MRM Document 14 Filed 12/19/17 Page 1 of 1 PageID 56



                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                   FT. MYERS DIVISION

  MARC KELLER and MARNELL KELLER,
  husband and wife,
                                                    CASE NO.: 2:17-CV-00485-UA-MRM
   Plaintiffs,

  -vs-

  EXETER FINANCE LLC,

   Defendant.
                                        /


                 JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


         COMES NOW the Plaintiffs, Marc Keller and Marnell Keller, and the Defendant, Exeter

  Finance LLC, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with

  prejudice, each claim and count therein asserted by Plaintiffs against the Defendant in the above

  styled action, with Plaintiffs and Defendant to bear their own attorney’s fees, costs and expenses.

         Respectfully submitted this 19th day of December, 2017.

/s/ Octavio Gomez                                   /s/ Matthew Mitchell (by permission)
Octavio Gomez, Esquire                              Matthew Mitchell, Esquire
Florida Bar No.: 0338620                            Burr & Forman LLP
Morgan & Morgan, Tampa, P.A.                        201 N. Franklin St., Suite 3200
One Tampa City Center                               Tampa, FL 33602
Tampa, FL 33602                                     Tele: (813) 221-2626
Tele: (813) 223-5505                                Fax: (813) 221-7335
Fax: (813) 223-5402                                 flservice@burr.com; mmitchell@burr.com;
Primary Email: TGomez@ForThePeople.com              cwingate@burr.com
Secondary Email: LDobbins@ForThePeople.com          Attorney for Defendant
Attorney for Plaintiffs
